                    IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF OHIO

IN RE:                                                     :    Chapter 13 Proceedings

Kimberly Anne Benson,                                      :    Case No.: 20-61209

Debtor.                                                    :     Judge Russ Kendig

                         MODIFICATION OF CHAPTER 13 PLAN

       Now comes Dynele L. Schinker-Kuharich, Standing Chapter 13 Trustee, and pursuant to

11 U.S.C., Section 1329 (a)(1) modifies Chapter 13 Plan of the Debtor(s) as follows:

       This Plan has become unfeasible and cannot be completed in the time remaining on the

plan term with the payments as ordered by this Court.

       Part 2.1 of the Plan is hereby modified to increase the Plan payment from $1,705.00 per

month to $1,920.00 per month to restore feasibility.

       The delinquency, if any, is hereby retroactively suspended.

       All other provisions of the Plan shall remain unchanged.

                                                       Respectfully Submitted,

                                                       /s/ Dynele L. Schinker-Kuharich
                                                       Dynele L. Schinker-Kuharich (0069389)
                                                       Chapter 13 Trustee
                                                       A. Michelle Jackson Limas (0074750)
                                                       Staff Counsel to the Chapter 13 Trustee
                                                       200 Market Avenue North, Ste. 30
                                                       Canton, OH 44702
                                                       Telephone: 330.455.2222
                                                       Facsimile: 330.754.6133
                                                       Email: DLSK@Chapter13Canton.com




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                           NOTICE OF MODIFICATION OF PLAN

Dynele L. Schinker-Kuharich, Standing Chapter 13 Trustee, has filed papers with the Court to
have this bankruptcy case modified.

Your rights may be affected. You should read these papers carefully to discuss them with
your attorney, if you have one, in this bankruptcy case. (If you do not have an attorney, you
may wish to consult one.)

If you do not wish the Court to modify this bankruptcy case, or if you want the Court to consider
your views on the Modification, then on or before July 13, 2022, you or your attorney must file
with the Court an Objection to the Modification at:

                              Clerk of Court
                              United States Bankruptcy Court
                              Ralph Regula Federal Building
                              401 McKinley Ave S.W.
                              Canton, OH 44702

If you mail your Objection to the Court for filing, you must mail it early enough so the Court will
receive it on or before the date stated above.

You must also send a copy to:

                              Dynele L. Schinker-Kuharich
                              Chapter 13 Trustee
                              200 Market Avenue North, Suite 30
                              Canton, Ohio 44702

If you or your attorney do not take these steps, the Court may decide that you do not oppose the
relief sought in the Modification and may enter an Order granting that relief.

Date: June 22, 2022

                                                     /s/ Dynele L. Schinker-Kuharich
                                                     Dynele L. Schinker-Kuharich (0069389)
                                                     Chapter 13 Trustee
                                                     A. Michelle Jackson Limas (0074750)
                                                     Staff Counsel to the Chapter 13 Trustee
                                                     200 Market Avenue North, Ste. 30
                                                     Canton, OH 44702
                                                     Telephone: 330.455.2222
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                                 CERTIFICATE OF SERVICE

I hereby certify that on June 22, 2022, a true and correct copy of the Modification of Chapter 13
Plan and Notice thereof were served via the Court’s Electronic Case Filing System upon these
entities and individuals who are listed on the Court’s Electronic Mail Notice List:


   •   Office of the United States Trustee at [RegisteredEmailAddress]@usdoj.gov
   •   Deborah L. Mack, Counsel for Kimberly Anne Benson, at Debbie@ohiofinancial.lawyer


and via regular U.S. Mail, postage prepaid, upon:

Kimberly Anne Benson, Debtor
2231 Lake Galion Rd., W
Galion, OH 44833

                                                     /s/ Dynele L. Schinker-Kuharich
                                                     Dynele L. Schinker-Kuharich
                                                     Chapter 13 Trustee




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